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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment - Page _ti -__ of       13
DEFENDANT: ARIEL QUIROS
CASE NUMBER: 5:19-cr-76-1
                                                 CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment             Restitution                  Fine                       AVAA Assessment*            JVTA Assessment**
 TOTALS              $ 300.00                $ 8,338,600.77           $                           $                           $


 D The determination of restitution is deferred until- - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
   entered after such determination.

 itl'   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately propmiioned payment, unless specified otherwise in
        the priorit}' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                    Total Loss***                   Restitution Ordered         Priority or Percentage
Michael Goldberg, Jay Peak Receiver                                                                   $8,338,600.77            100%
Akerman, LLP
201 East Las Olas Boulevard, Suite 1800
Fort Lauderdale, FL 33301

See attached payee list (Appendix A)




 TOTALS                                $                                           $ 8,338,600.77


 D       Restitution amount ordered pursuant to plea agreement $

 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Ill     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         ili   the interest requirement is waived for the         D fine     ili   restitution.

         D the interest requirement for the          D     fine    D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6 - Schedule ofPayments
                                                                                                         Judgment-Page    _12
                                                                                                                            _ _    of        13
 DEFENDANT: ARIEL QUIROS
 CASE NUMBER: 5:19-cr-76-1

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay,payment ofthe total criminal monetary penalties is due as follows:

 A     fZ'.i   Lump sum payment of$ �li,338,900.77              due immediately,balance due

               □    not later than                                  ,or
               □    in accordance with    □   C,    □    D,     □   E,or       D F below; or
 B     □       Payment to begin immediately (may be combined with            □ c,     D D,or      D F below); or

 C     D       Payment in equal      __ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _  _ over a period of
                             (e.g., months or years), to commence __ _ _ _(e.g., 30 or 60 days) after the date ofthis judgment; or

 D     D       Payment in equal     __ _ _ _ (e.g., weekly, monthly, quarter!;) installments of $ _ _ _         _ over a period of
                            (e.g., months or years), to commence _ _ _  _   _  (e.g., 30 or 60 day:,) after release from imprisonment to a
               term of supervision; or

 E     D       Payment during the term ofsupervised release will commence within __ __ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

 F     Ill     Special instructions regarding the payment of criminal monetary penalties:
                Principal payments shall be a minimum of 10% of defendant's gross earnings. Restitution is owed joint and
                several as to the entirety with co-defendant William Kelly and limited to $250,000 with co-defendant William
                Stenger. The Clerk of the Court will submit restitution payments for the victims to Jay Peak receiver Michael
                Goldberg, Akerman LLP, 201 East Las Olas Boulevard, Suite 1800, Fort Lauderdale, FL 33301.


 Unless the court has expressly ordered otherwise,ifthisjudgment imposes imprisonment,payment ofcriminal monetary penalties is due during
 the period ofimprisonment. All criminal monetary penalties,except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program,are made to the clerk ofthe court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                 Joint and Several             Corresponding Payee,
       (including defendant numbe,)                       Total Amount                       Amount                       if appropriate
      William Kelly (5:19-cr-76-2)                            8,338,600.77           8,338,600.77


 D     The defendant shall pay the cost ofprosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (I) assessment,(2) restitution principal,(3) restitution interest,(4) AV AA assessment,
 (5) fine principal,(6) fine interest,(7) community restitution,(8) JVTA assessment,(9) penalties,and (10) costs,mcluding cost of
 prosecution and court costs.
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